          Case 2:14-cr-00001-TOR            ECF No. 133                filed 05/28/14               PageID.400 Page 1 of 1
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(5/04)


                             UNITED STATES DISTRICT COURT
                                                                     for
                                            Eastern District of Washington


U.S.A. vs.                 Mercer, Shaun Michael                                     Docket No.              2:14CR00001-TOR-3


                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik B. Carlson, Pretrial Services Officer presenting an official report upon the conduct of defendant
Shaun Michael Mercer, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John
T. Rodgers sitting in the court at Spokane, Washington, on the 19th day of March 2014, under the following conditions:

Special Condition #15: Avoid all contact, direct or indirect, with known felons or Co-Defendants.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                   (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant associated with a convicted felon.

                           PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                        I declare under the penalty of perjury
                                                                                        that the foregoing is true and correct.
                                                                                        Executed on:        May 28, 2014
                                                                            by          s/Erik Carlson
                                                                                        Erik Carlson
                                                                                        U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ 9]     The Issuance of a Summons
[ ]      Other


                                                                                           Signature of Judicial Officer

                                                                                             .BZ 
                                                                                           Date
